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Dear Judge Young,

My name is Yury Brainin. | live in New York City with my wife and 2 young sons, Daniel and Victor. |
have my own technology consulting business that caters mainly to Finance Executives at Fortune 500
companies. | really appreciate my situation because | get to work from home and spend lots of time
with my family.

| also spend lots of time in Worcester, MA where | grew up and where my mother and brother still live.
Four to six weeks of the year | am in MA to spend time with my mother, brother and his family. | feel
very blessed to be able to do this.

| write this letter absolutely heartbroken about my good friend Alex Levin. | have known Alex for 30
years and | can honestly say he is one of the best people | know. | first met Alex playing soccer at the
JCC (Jewish Community Center) about 30 years ago. We naturally became friends and formed a very
tight friendship that is still very strong. What attracted me to Alex was his amazing intellect.

| have met many people in my life and | can honestly say that Alex is the most intelligent persons | have
ever known. He is extremely well read and well versed on almost any subject matter: Books; Poets;
Science; Art; Music; History; Culture. If you ever try and talk to Alex on any topic he is really hard to
stump.

As | got to know Alex better | found him to be the most kind and generous person. He has always been
there for me whenever | needed him. He has been a true and trustworthy friend that | could always rely
on. | know what a great person he is not just because of how he behaves towards me but also of the
way he acts to others in his life.

When Alex’s parents were sick he looked after them tirelessly day & night, duties that included
complete bathroom assistance. He has been doing this while at the same time going through the
current federal court charges. Alex’s mother, who he has been caring for the last 2 years, passed away
last month while Alex was in prison. (| write this with tears in my eyes)

| have seen Alex around his daughter, Ely, and | can honestly say that he is a wonderful and generous
father. They are constantly doing different activities together and | can see that she loves him dearly. |
know that Ely’s life will be very negatively impacted by not having a loving father there for her. This is
no deadbeat dad, but a loving caring father that his daughter adores.

| am sure you get letters like this all the time so why should mine stand out. All| can do is be completely
honest and hope that you appreciate that. | think of myself as a good and moral person. | hope others
do as well. 100% | don’t believe that Alex Levin watches disgusting videos like the ones described in the
charges. Do | think Alex used Dark Web, definitely. Do | think he was file sharing on Dark Web,
certainly. But | simply cannot imagine Alex doing something like this. Alex is not the kind of person who
would download and look at these disgusting things.

| know a lot is in your hands. Having Alex spend time in jail would a huge tragedy not only to the people
that love him and care about him, but also to the morality of the world in general. The world needs
more caring, kind, interesting, and intelligent people like Alex Levin.
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| understand that the number of letters received does not matter but only a few that are quality. If the
number of letters were to matter | know that | could personally get another 50+ people to write letters
like these on Alex’s behalf.

To say that we are heartbroken & devastated is not enough. My brother & mother who both know Alex
have cried about the current situation. Not because we know him, we know many people, but because
we are seeing a wonderful human being with great potential getting cut down. Alex going to prison is
not justice, it is the greatest injustice. | know it in my heart and soul.

Judge, there is a lot in your hands. If there is/was anyway | could help Alex besides writing you this
letter | would do it in instant. If it meant me paying for more attorney fees or giving my time | would
absolutely do it. But alas all | can currently do is plead.

| don’t do a lot of begging but | beg you to please do everything in your power to see that this amazing
human being’s life is not destroyed. The world will be no better off by having Alex behind bars.

| thank you for reading this letter.

ry Reainin
Yury Brainin
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August 19, 2019

Judge William Young

United States District Court, District of Massachusetts
1 Courthouse Way

Boston, MA 02210

Dear Judge Young,

My name is Gregory Levin. | am the older brother of Alex Levin. | am 58 years old. | was born in
Belarus, and have lived in the USA since February 1980. My family and | settled in the town of
Worcester, MA. Almost immediately got a job, and took classes to learn English. My priority was
helping my parents to get established and to help my brother go to school, get supplies for
school, etc. After 5 years my family and | applied for naturalization, which we got. This was the
most proud day in our lives, and | am still proud to be an American. During all this time | had
couple of businesses which were "Jewelry repair shops and Jewelry stores". | raised a family,
and have 2 beautiful daughters. | did my best to help them to start their lives on the right path.

My brother Alex has always been a very good person; he is always friendly, and is kind to both
people and animals. As a child he always would find stray cats and would spend most of day
trying to bring them food, water and just trying to keep them comfortable and he always tried
to bring them home. In school teachers always talked about him as nice kid, who always was
first to offer teachers help and stay after school to do chores. Alex always was the first one to
help around the house, if he saw an older person carrying heavy bags, he always offered to
help. Being a helpful and generous person stayed with him to present day. He finished college
and also got a Master’s degree in computer science. He worked as manager adviser for big
companies. He has been respected and valued in his field of work. He also got married, and had
a beautiful daughter. He spent lots of attention to his family, to his daughter. He always took
her to kid’s activities, such as skiing, camping and lots more. Since Alex got incarcerated, his
daughter has been devastated. It has affected her education, and has impacted her
emotionally. She's waiting for him to come home every day.

While Alex was incarcerated, we lost our Mom. Alex and | were very close to our parents.
Thanks to Alex we were able to give Mom and Dad help any time they asked for it and more. He
would take them to do food shopping, doctors, when they need it simple companionship, etc.
He took that news very hard. Our Dad is going to a nursing home, He's asking about Alex every
day, and | just can’t bring myself to tell him what’s going on. Our Dad is over 90 years old.

Alex is a good person, and my family loves him very much. We will continue to love and support
him. My wife always wants to cook for him, and tries to help him whenever she can.

There's so much more | can say about Alex, and all of it is good.

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August 22, 2019

Judge William Young

US District Court

District of Massachusetts
Courthouse Way, Boston, MA:02210-

Dear Judge Young:

My name is Marat Borodovskiy. | am 35 years old. | live in New York City with my wife Renee and two-
year-old boy and girl twins, Vin and Lana. | am an attorney by training and work in legal technology for
Prudential Financial. | grew up in Ukraine and moved to the US when | was 12 years old. | lived in Boston
until 8 years ago. | attended Newton North high school, Boston University and Suffolk Law school.

Upon graduation from Law School | started doing consulting in the technology space and met Alex Levin.
We were both consultants working on a very demanding implementation for an insurance company called
WellPoint. Alex took me under his wing and made sure that | adjusted to the high pace environment. He
was kind, supportive, and highly technical. At some point our relationship went from being coworkers to
being friends. Alex used to be an avid skier and when he learned that | wanted to learn how to ski (after
attempting to learn when | was a child and failing) he took it upon himself to teach me how to ski. He
would pick me on some weekends, and we would go skiing together in New Hampshire. He was patient
in taking the time to help me learn and now | am an avid skier myself.

During my years of being friends with Alex | got to know his wife and daughter. | knew him to be a loving
husband and an even more doting father. He always made time to spend time with his daughter Ellie. He
would pick her up from activities, play with her outside and try to instill in her his love of the outdoors
and sports. He was just a great dad and a good guy.

As a father of young children, | am now especially sensitive to and concerned about the types of activity
that Alex has been convicted of. | love my kids more than anything and know that Alex loves his daughter
more than anything. | really can’t explain this situation, all | can say that this is completely contradictory
to the Alex that | knew. It just doesn’t make sense, And as such | am writing this letter asking for your
leniency, because | believe Alex to be a good and decent person who has made a positive impact on my
life, and | really hope that you take this into consideration in your sentencing decision. Thank you.

Marat Borodovskiy
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Judge William Young

United States District Court, District of Massachusetts
1 Courthouse Way

Boston, MA 02210

RE: Alex Levin \
Dear Judge Young:

My name is Carol Goldberg and | am 78 year old widow, an Insurance Broker and believe | am a very good judge
of character.

| met Alex approximately eight years ago, when he moved into the building across the hall from me. At the time
| had been living here 10 years and had many neighbors, but none as kind heated, generous, unselfish and
honest as Alex was to me. In my eyes he had the character | would want in my own son if i had one. We spent
lots of time together Especially when he brought his adorable daughter here. He was the most wonderful
father and you could see that he lived his life for her. He told me many times that the most important thing in
this world for him was his daughter and he would do anything for her above all else. You could see the love
she has for him as well. We would spend summers at our pool together on weekends, when she would come
to stay with him. Sometimes she would ask if she she could have a girl time with me and she would visit at my
apartment, several people at the pool would come over to me , as they knew Alex and i where good friends,
and say what a wonderful father he is as he was always in the water teaching her swimming and playing with
her. He would invite me to dinner with them on several occasions.

As a personal story about Alex, | had a terrible fall on black ice on November 23, 2013 in front our
apartment building, the person who was there for me was Alex. | did not want to go to the hospital in an
ambulance, so Alex insisted on taking me there, he took me to the Emergency room and stayed with me for
several hours and insisted on staying with me so I wouldn't be alone. Finally | realize it was Wednesday and he
was supposed to pick up his daughter from school, so i told him to please go but before he left he had made
sure that | was taking into a room. He finally left and said he would be back after he took his daughter home,as
i was going there to be there for several hours. He kept calling the hospital to check on me and after he took
his daughter home he came back to the hospital. | did not want to stay over night,so Alex took me home. He
wanted to stay with me but i said you go home and i left my door unlocked and he checked on me several times
during the night and next day he was bright and early to see what i needed. i could go on as this lasted several
weeks and months but he was always there for me and ! will never forget or abandon him. He is a true friend
and a wonderful father. Thank you for this opportunity to talk about my friend.

Most sincerely,

Carol S. Goldberg
781-762-3031

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Judge William Young

United States District Court, District of Massachusetts
1 Courthouse Way

Boston, MA 02210

My name is Stephen Foster and | am 54 years old and reside in Bolton, CT. |am a Senior Sales
Director for an Enterprise Software startup located in Palo Alto, CA and have been involved in
Software Sales for my entire 30-year career. | have two wonderful daughters; both have
graduated from college and are now active in the work force. | was born and raised Catholic, and
| am active in my church.

| met Alex in 1985 as a Freshman at Central New England College, where we both studied
Computer Science at the time. | have remained close with Alex since our college days and have
interacted with him in social situations hundreds of times over the years. | am proud to consider
Alex a close friend as he has always been someone that | could count on over the years to talk to
for support both in my professional and personal life. Alex has known and interacted with my
daughters since birth, and | trust him completely in their presence.

Alex is one of the kindest, most generous, and loyalist people that | have had the pleasure to
befriend. His generous and easy-going nature goes beyond what you would typically expect from
a friend. If ever | needed a friend’s support, | could count on it from Alex. Beyond that, | believe
that it is important to point out that | have never heard Alex speak in anger about anyone and he
is the last person that | would ever expect to hurt anyone. Alex has earned this trust through his
actions and he has never done anything to betray this trust, or, demonstrate an unworthiness for
this trust. Alex is a hard worker and was very successful in his field of work.

Alex has also been a tremendous son to his parents. His Mother and Father have been ill, in fact
his Mother just recently passed away. Throughout their illness, Alex spent as much time as
possible with his parents and did a great deal for them in their time of need. | know that they
both are proud of the man that Alex is and the success that he had in his career. Alex is also very
close with his daughter and over the years has spent as much time with her as possible. | know
that Alex has been a great father to his daughter.

| do appreciate the significance of his current legal situation. |am compelled to say however,
that | do not believe for a minute that Alex is a threat to endanger anyone, it simply is not part of
his makeup or character. In fact, in the hundreds of times that | have been in his presence, | have
never seen him act in anger and he has always represented himself as caring, kind, and giving. |
have never seen him in a verbal or physical altercation. | know of no violent past, or criminal
behavior and | am 100% confident that when given the chance he will return to being a valuable
law abiding citizen and an asset to the community. Thank you for the opportunity to share my
significant experience and interactions with Alex.

Sincerely,
Stephen Foster

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September 3, 2019

Judge William Young

United States District Court, District of Massachusetts
One Courthouse Way

Boston, MA 02210

Dear Judge Young,

My name is Misha Brainin. | am 45 years old and | live in Natick, MA with my two daughters, ages 4 and
8. | work as an electrical engineer in the defense and aerospace industry for government research. |
have worked for MIT Lincoln Laboratories for twelve years and | am currently working for Draper
Laboratories. | received my BSEE from the University of Massachusetts in Amherst and my MSEE from
Northeastern University.

| have known Alex Levin close to thirty years. | first met Alex through my family, as both our families are
Russian Jewish immigrants that moved to Worcester, MA. At first | only saw Alex at community events
and on holidays at the local synagogue but then my older brother, Yury, and Alex became friends in high
school. As | started to get to know Alex in the years to come, | saw him in many roles. He is a very
talented computer scientist, a husband, a loving father, a dedicated son, and a great friend.

One of the first things that anyone who has met Alex will realize is what a vibrant and intelligent person
Alex is. He always amazes me in his knowledge about history, philosophy, art, as well as current events.
Alex is someone who enjoys interacting with people from all walks of life. He is truly a unique individual
that always seems to bring out the best in people with his humor, kindness, and unique perspective on
life. In all the years | have known Alex, | can’t think of a single person who has had anything bad to say
about him.

In the last year as Alex was going through his trial, | was going through my divorce. Whenever | would
meet with Alex, | wanted to be there for him as he was going through this difficult time in his life, but it
always felt like he was there for me more than | was there for him. As much as | tried to help him and
understand what he was going through, he was the one that was able to truly listen and offer me great
advice and help me move forward. | think this shows who Alex really is as a person; someone who puts
others above himself and is always there for his friends and family with complete disregard for himself.

Besides being a great friend, Alex is also a wonderful father that loves his daughter, Ellie, very much.
Every once in a while he would share something that his daughter accomplished and it would be obvious
how proud he was of her. | believe everything he is currently going through with this trial, his most
painful and difficult realization is missing out on time spent with his daughter. As a father myself, | can’t
imagine what he is going through.

| was with Alex the night before the jury made their decision. The last thing | said to him that night with
tears in my eyes was “Not to worry, everything would turn out all right. You’re too good of a person for
this to happen.” When | heard about what happened the next day, | could do nothing but cry.
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| wish | could more than write this letter to make things right and have Alex acquitted of all charges. |
beg you to please be lenient on Alex. Putting Alex in prison would not just impact his life, but it would
also ruin everyone else’s who knows him, especially his daughter.

Society needs more people like Alex, and | am proud to call him my friend.

Sincerely,

Wy Bruton

Misha Brainin
